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        Exhibit “4”
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                              The Receiver and Genovese, Joblove & Battista, P.A.


                                              Year     Total   Discounted Hourly
         Name                    Title                                           Total Amount Billed
                                            Licensed   Hours         Rate
Jonathan E. Perlman              Partner      1988       450.5       340.00              $153,170.00
John H. Genovese                 Partner      1979      131.00       340.00               $44,540.00
Paul J. Battista                 Partner      1991       37.20       340.00               $12,648.00
Gregory M. Garno                 Partner      1996      161.40       340.00               $54,876.00
Heather L. Harmon                Partner      2003      130.90       340.00               $44,506.00
Theresa Van Vliet                Partner      1983        0.50       340.00                  $170.00
Jesus M. Suarez                  Partner      2008        9.20       340.00                $3,128.00
Brett Halsey                   Associate      2005      213.50       265.00               $56,577.50
Jean-Pierre Bado               Associate      2016      174.90       265.00               $46,348.50
Elizabeth G. McIntosh          Associate      2018       84.40       265.00               $22,366.00
Angelo M. Castaldi             Associate      2015       37.80       265.00               $10,017.00
Irina R.Sadovnic               Associate      2016      460.20       265.00              $122,271.00
Joyce A. Delgado               Associate      2017        0.60       265.00                  $159.00
Jessey Sardina                  Paralegal      n/a        9.80       100.00                  $980.00
Colleen Hopkins                 Paralegal      n/a       24.60       100.00                $2,460.00
Catherine Monzon                Paralegal      n/a       59.40       100.00                $5,940.00
Steve Siff                      Paralegal      n/a        0.40       100.00                   $40.00
Carolyn Esser                   Paralegal      n/a        1.00       100.00                  $100.00
Jay Bushman                   IT Specialist    n/a       45.50       100.00                $4,550.00
                                      Report Totals:   2032.80                           $584,847.00




      [12455-001/3210784/1]
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                                                Collas Crill


                                                     Period A

                                                                         Discounted
                                                                                       Total Amount
      Name                     Title     Experience             Hours    Hourly Rate
                                                                                           Billed
Stephen Leontsinis            Partner     17 Years              34.71      $725.00      $23,852.50
Rocco Cecere                  Partner     17 Years              29.70      $725.00      $18,560.00
Jennifer Colegate            Counsel      14 Years              62.10      $675.00      $30,037.50
Natalie Bell                  Senior
                                          12 Years               3.20      $650.00        $0.00
                             Associate
Genevieve White              Associate    3 Years               35.20      $600.00      $16,920.00
                                            TOTAL:              164.91                  $89,370.00


                                                     Period B


                                                                         Discounted
                                                                                       Total Amount
      Name                     Title     Experience             Hours    Hourly Rate
                                                                                           Billed
Stephen Leontsinis            Partner     17 Years              11.80      $725.00       $8,555.00
Rocco Cecere                  Partner     17 Years               8.10      $725.00       $5,872.50
Jennifer Colegate            Counsel      14 Years              13.80      $675.00       $9,315.00
Natalie Bell                  Senior
                                          12 Years               0.20      $650.00       $130.00
                             Associate
Farrah Sbaiti                 Senior
                                          11 Years               6.40      $650.00       $4,160.00
                             Associate
Genevieve White              Associate    3 Years                8.50      $600.00       $5,100.00
                                         Credit Note:                                    $1,015.00

                                            TOTAL:              48.80                   $32,117.50


                                                     Period C


                                                                         Discounted
                                                                                       Total Amount
      Name                     Title     Experience             Hours    Hourly Rate
                                                                                           Billed
Stephen Leontsinis           Partner      17 Years               2.90      $725.00       $2,102.50
Rocco Cecere                 Partner      17 Years               4.50      $725.00        3,262.50
Jennifer Colegate            Counsel      14 Years               2.00      $675.00       $1,350.00
                                             TOTAL:              9.40                    $6,715.00




     [12455‐001/3259836/3]
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                                          Yip Associates


           Name                 Title         Experience   Hours   Discounted    Total Amount
                                                                   Hourly Rate       Billed
Maria M. Yip, CPA, CFE,
CFF, CIRA                      Partner         27 Years     4.5      $340.00       $1,530.00
Hal A. Levenberg, CIRA,
CFE                           Director         12 Years    55.4      $295.00      $16,343.00
Shawna B. Amarnani, CPA,
CFE, CIRA                     Director         10 Years    105.4     $295.00      $31,093.00
Nicole Esudero Dueñas,         Senior
CPA, CFE, CIRA                                 7 Years     63.2      $245.00      $15,484.00
                              Associate
Santiago I. Carpio
                              Associate        4 Years     83.0      $195.00      $16,185.00
William P. Martin
                              Associate        2 Years     25.0      $195.00       $4,875.00
Christian Varela
                           Paraprofessional     1 Year      7.8      $100.00       $780.00
                                                TOTAL:     344.3                  $86,290.00
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                                      Development Specialists, Inc.


                                                                         Discounted    Total Amount
        Name                  Title             Experience      Hours
                                                                         Hourly Rate       Billed
                        Senior Managing
Joseph J. Luzinski                                33Years       198.70     $520.00      $103,376.00
                            Director
                        Senior Managing                         164.10     $436.00      $71,547.60
Mark T. Iammartino                               23 Years
                            Director                             5.50      $218.00       $1,199.00
Yale S. Bogen           Managing Director        19 Years        2.00      $428.00       $856.00

Daniel J. Stermer       Managing Director        20 Years        16.20     $280.00       $4,536.00
                        Senior Managing
Thomas P. Jeremiassen                            24 Years        32.80     $476.00      $15,612.80
                            Director
Nicholas R. Troszak     Managing Director        16 Years        15.00     $408.00       $6,120.00

Thomas J. Frey          Senior Associate         10 Years        61.10     $280.00      $17,108.00
Richard B. Twaits           Associate             2 Years        85.30     $184.00      $15,695.20
                        Communications
Lauren E. Lakeberg                               17 Years        5.60      $55.00        $308.00
                          Coordinator
TOTAL                                                           586.40                  $236,358.60
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                                      Rehmann


                                                          Discounted    Total Amount
       Name             Title     Experience     Hours
                                                          Hourly Rate       Billed
     Mitch Hall       Executive     33 Years     148.3      $300.00      $44,490.00
 Charles Hoebeke II   Executive     22 Years      3.5       $300.00       $1,050.00
  Michael Patterson   Executive     37 Years      0.2       $300.00        $60.00
    Haley Arndt        Senior       5 Years      69.15      $215.00      $14,867.25
  Suzanna Herrera      Senior       12 years      0.5       $215.00       $107.50
  Lee Ann Pollard      Senior       14 Years      0.25      $215.00        $53.75
     Gina Joyce        Senior       9 Years      13.35      $215.00       $2,870.25
   Sejla Kulaglic      Senior       7 years       0.15      $215.00        $32.25
   Tammy Archey         Staff       5 Years       2.00      $150.00       $300.00
    Lina Breland        Staff        1 year       1.5       $150.00       $225.00
                                        Total:   238.90                  $64,056.00
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                                                                                             E-Hounds, Inc.
                                                                                           32815 US Highway 19 North
                                                                                                              Suite 100
                                                                                            Palm Harbor, Florida 34684

                                                                                           Local / International (727) 726-8985
                                                                                                        support@ehounds.com



              Staff Assignment and Fees used for Case E9618 TCA Fund Management Group

    Staff Member             Position                         Init             Rate

    Adam D Sharp             President-CEO                    ADS              $300 per hour
    David A Bukas            VP Operations                    DAB              $195 per hour
    Robert T Rohr            Lead Analyst                     RTR              $195 / 300 per hour
    Ernesto Rojas Castro     Forensics Lead                   ERC              $195 per hour
    Sean P Organ             Technical Services               SPO              $195 per hour
    James C Schooler         Technical Services/LE Liason     JCS              $195 per hour




    Flat Rate Fees

    E-Hounds utilizes flat rate fees for certain services, to help minimize cost overruns and provide stable
    estimates for fees. Often, these services would vastly exceed the flat rate charged if they were billed hourly.

    Intake, Handling, Storage and Secure Preservation              $225 per medium
    Intake services include photographing and documenting the particular item, disassembly of devices
    (computers, phones, etc) to document and access key components, forensic imaging digital media, ongoing
    storage and maintenance of the device and associated forensic images, and secure destruction of both data
    and devices if and when requested (usually at case closure).

    E-Hounds Review Platform                                          $995 per month / $95 per user per month
    E-Hounds provides an “in-house” review system which allows specific clients to access and review specific
    data sets, regardless of size, through an encrypted website interface. All data is hosted in E-Hounds
    controlled servers with zero third party intervention.

    Forensic Triage & Recovery                                         $1000 per computer
     E-Hounds provides a singular service, per computer, which goes beyond normal “search and produce”.
    “Triage” recovers data, metadata and artifacts which may not be normally available during a standard
    search or “E-Discovery” role. This includes generating reports related to internet history, search terms
    entered by the user, WiFi and network drive connections, USB devices, Passwords and Cloud services
    utilized, identifying and recovering deleted data, dates of use, and a general picture of how a computer was
    used (or misused).
